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EXHIBIT
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November 27, 2007

Members of the Board of Supervisors

County of Los Angeles ~
856 Kenneth Hahn Hall of Administration

_ 500 West Temple Street

Los Angeles, CA 90012

Dear Supervisors:

Although the issue of construction of a new jail has been postponed to January,

2008, we would like to offer two points for your consideration in the interim.
TEAR DOWN MEN’S CENTRAL JAIL

The Sheriff and Special Counsel Merrick Bobb are correct that Men’s Central Jail
(MCJ) must be demolished, The problems are not limited to the lack of outside
exercise and out-of-cell time. The linear design of the jail inhibits sight lines and
makes close supervision impossible, placing inmates and guards at great risk.
Upgrading every system, making its seismically safe and conforming with current
codes will cost hundreds of millions and still leave us with a fundamentally bad
design and an unconstitutional jail. Finally, renovation raises the stubborn problem

__ of where to house inmates in the interim.

Building a new jail is prohibitively expensive only if we assume that we must replace
6000 beds, or even the current population, which was under 5000 at last count. A
new jail tower with 1000 or 2000 beds, constructed next to MCJ, will cost far less
than renovation and come on line faster. And it is possible that we will not need

‘more beds that this, as we discuss below.

On a related note, replacing MCJ must include a hard look at how we meet our
obligations under the Americans with Disabilities Act. Today, we segregate inmates —
with disabilities in MCJ, the oldest and more overcrowded facility in the system.
They cannot go outside in the open air as they can at Pitchess, nor can they

participate in the Sheriffs excellent new programs at NCCF. This systemic
discrimination needs to be addressed as we move forward on jail construction .

DOWNSIZE OUR JAIL SYSTEM
Fifteen years ago, New York’s jail system had more than 21,000 inmates. New York

reduced its beds by one third, to its present level of 14,000 beds. They did it in three
ways:

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Members of the Board of Supervisors Page 2

November 27, 2007

° Alternatives to incarceration for felony defendants,

° Improved discharge planning for inmates with mental illness and addiction disorders to
reduce re-arrests, and

. Faster processing of defendants in the oriminal justice system.

These approaches reduce length of stay as well as new admissions. Length of stay is especially
important. If we could speed court processing so that average length of stay was reduced by just
three days, we would save 2000 beds without resorting to early release. These options are not
cost-free, but they are far less than the constructing two thousand new jail beds or operating
them, at a cost of $150, 000 per day.

Downsizing our jail system, as New York did, will require leadership and cooperation across
many agencies, The Sheriff can’t do it alone. However, this Board’s leadership cna make it
happen. In New York, for example, they had trouble getting judges and DA’s to accept
alternatives to incarceration. New York responded by placing staff in the courtrooms to advocate
~ for the programs, armed with exhaustive studies that established that the defendants in these
programs had fewer re-arrests and posed less risk to the public safety than those who spend 6 to

- 12 months in jail, and may in fact pose less risk. The programs, run by non-profit agencies are
far less cost than jail time and account for 3000 inmates per year.

This approach is the wave of the future. Scores of counties are exploring these alternatives with
remarkable results. One county in Florida found that in the consultant they brought in was able
to reduce their jail population by 20% in a matter of months before he had even completed his
study, by getting stakeholders in the criminal justice system to implement several of his
recommendations. This Board approved $20 million for planning and design of new jail
construction. It would take a small fraction of this sum to fund plans to reduce our jail system by
three or four thousand beds. I’ve attached a list of some consultants if you and your staff are
interested.

I look forward to working with your staff on these issues.
Melinda Bird
Senior Counsel

 

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RESOURCES FOR DOWNSIZING A JAIL SYSTEM

Dr. James Austin, JFA Institute,
http://www, jfa-associates.com,

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Washington, DC 20002

Phone: (202)544-4211

Fax: (202)544-1460 -

Malibu office: Phone: (310)867-0569

Marie VanNostrand

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www.Luminosity-Solutions.com
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(727)525-8955

Alan Kalmanoff, akalmanoff@ilpp.org
Institute for Law and Policy Planning
http://www.ilpp.org .
P.O. Box 5137
Berkeley, CA 94705
Voice: (510) 486-8352

Fax: (510) 841-3710

Vera Institute of Justice
233 Broadway, 12th Floor
New York, NY 10279
Tel: (212) 334-1300
Fax: (212) 941-9407

WWww.vere. ore

Dr. Allen Beck

Justice Concepts Inc.
417 W. 87th Place
Kansas City, MO 64114
(818) 361-1711

http://www.justiceconcepts.com

Pre-trial Justice Institute
www.pretrial.org

927 15th Street
Washington DC 20005
(202) 638-3080

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people they serve, while enhancing the

City’s most challenged communities.

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ATIS CUT CRIME

  

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ism.”

—The New York City,
Criminal Justice Agency (2003)

% A recent analysis by The New
York City Criminal Justice Agency
found that felony ATI participants
were significantly less likely to be
re-arrested than similar people sent
to and discharged from a City jail.
ATI participants were no more like-
ly to be re-arrested than similar
people sentenced to and released
from probation or prison.

# A study of the City’s felony ATI
programs by the Vera Institute of
Justice showed that among those
who successfully completed their
ATI programs (the majority), gradu-
ates were less likely to be convict-
ed of a new offense than those who
did not complete the program. In
general, the Vera study showed
that ATI participants were no more
likely to re-offend than people who
were sent to prison or jail. When
the amount of time ATI participants
and similar people in jail actually
spent in the community was
accounted for (meaning, they were
at risk of being re-arrested, versus
being in jail) successful program
graduates were projected to be
less at risk of re-arrest than either
the comparison group, or those
who did not complete their pro-
grams. If they were re-arrested, ATI
program graduates were more like-
ly to be convicted for minor offens-
es than those who did not com-
plete the program. ATls have met
and exceeded the goals set by the

City, and compare favorably with
the results seen in similar programs
around the country.

#® While ATIls are beginning to
spread across the country, and
while a variety of factors are
responsible for the decline in
crime, the growth of New York’s
ATls has occurred as jail and
prison populations have fallen, and
as the city has experienced a drop
in crime. Since 1994, the New York
City jail population has declined
by 23%, during a time when the
nation’s total jail population
increased by 36%. During the
same period, New York State’s
prison population barely grew
(1.2%), while the country's prison
population grew by 33%. Since
1994, New York City’s total crime
and violent crime rate dropped by
52%—twice the size of the total
national drop, and significantly larg-
er than the national violent crime
drop (respectively, 22% and 29%).

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—The Vera Institute of Justice (2003)

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ATIS HELP PEOPLE

  

AND BUILD COMMUNITIES

“ ATls provide key services, treat-
ment and programming to a needy
clientele. Less than a third of ATI
program participants had a high
school diploma or a GED, nearly a
third reported that they needed drug
treatment, and 4 out 5 reported that
they depended on others for finan-
cial support.

i Of the families served by one ATI

program, 90% of the participants
had at least two members with a his-
tory of substance abuse, 80% of
the families had at least two mem-
bers with a history of criminal justice
involvement, and half the families
had at least one member with
HIV/AIDS. ATIs can meet the com-
plex needs of the whole family by
helping to coordinate existing sup-
port systems, providing increased
access to additional supports, and
helping families recognize their own
strengths and resources.

& By keeping people out of jail, ATIs
avoid the disruption that incarcera-
tion causes families and communi-
ties. ATIs allow people to remain
part of the workforce, to be parents,
and to play a role in strengthening
the fabric of their families and neigh-
borhoods.

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# ATIs invigorate the network of
services in a community. ATI staff
partner with schools, the faith com-
munity, local employers, and local
treatment providers to give their
clients what they need. By taking on
this coordinating role, ATIs strength-
en the network of organizations,
institutions and people that lower
crime, and build a neighborhood's
quality of life. Many ATI program
participants enhance the communi-
ties they serve through service proj-
ects, such as preparing meals in
community kitchens, and building
community centers. In just one of
the City’s ATI programs, partici
pants completed almost 100,000
hours of community service last
year.

# New York City’s ATIls employ hun-
dreds of people, many of whom
work in the neighborhoods most
affected by high crime, and high
incarceration rates. ATIs may do
more to build the local economy
than investments in more jail cells,
or upstate prisons.

 
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Or Contact
ATI Coalition member programs
directly (see following pages).

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